Case 19-00617-SMT       Doc 21     Filed 11/20/19 Entered 11/20/19 17:07:47           Desc Main
                                  Document      Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLUMBIA

 IN RE:                                                       Case No. 19-00617-SMT
 DAYSE T. TARUSELLI
        Debtor                                                Chapter 7
 _______________________________
 THE BANK OF NEW YORK MELLON, FKA, THE
 BANK OF NEW YORK, AS SUCCESSOR IN INTEREST
 TO JPMORGAN CHASE BANK, N.A., AS TRUSTEE
 FOR STRUCTURED ASSET MORTGAGE
 INVESTMENTS II TRUST 2006-AR4, MORTGAGE
 PASS-THROUGH CERTIFICATES, SERIES, 2006-AR4
 C/O SELECT PORTFOLIO SERVICING, INC.
        Movant
 v.
 DAYSE T. TARUSELLI
        Debtor/Respondent
 and
 BRYAN S ROSS
        Trustee/Respondent


      NOTICE OF DEADLINE TO FILE AND SERVE OBJECTION TO MOTION

        PLEASE TAKE NOTICE THAT WITHIN 17 DAYS AFTER FILING OF THIS
MOTION you must file and serve a written objection to the motion, together with the proposed
order required by Local Bankruptcy Rule 9072-1. The objection and proposed order must be
filed with the Clerk of the Bankruptcy Court, U.S. Courthouse, 3rd and Constitution Ave., NW,
Washington, DC, 20001, and served (by delivery or mailing of copy) upon the undersigned. The
objection must contain a complete specification of the factual and legal grounds upon which it is
based. You may append affidavits and documents in support of your objection.

        IF YOU FAIL TO FILE A TIMELY OBJECTION, THE MOTION MAY BE GRANTED
BY THE COURT WITHOUT A HEARING. The Court may grant the motion without a hearing if
the objection filed states inadequate grounds for denial.

                                            Respectfully Submitted,

Dated: November 20, 2019                    _____________________________
                                            Daniel Callaghan, Esq.
                                            DC Bar No. MD0044
                                            BWW Law Group, LLC
                                            6003 Executive Blvd, Suite 101
                                            Rockville, MD 20852
                                            301-961-6555



                                                                                   BWW#:DC-343615
Case 19-00617-SMT       Doc 21     Filed 11/20/19 Entered 11/20/19 17:07:47           Desc Main
                                  Document      Page 2 of 2



                                            301-961-6545 (facsimile)
                                            bankruptcy@bww-law.com
                                            Attorney for the Movant

                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 20th day of November, 2019, a copy of the foregoing
Notice of Deadline to File and Serve Objection to Motion, was mailed by first class mail, postage
prepaid, to the following persons:

Bryan S Ross, Trustee
1776 K Street, NW
Suite 200
Washington, DC 20006-1222

Dayse T. Taruselli
1342 Monroe Street Nw
Unit B
Washington, DC 20010



                                            _____________________________
                                            Daniel Callaghan, Esq.
